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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
  QUEWANDA WARE, individually and
  as Proposed Personal Representative of
  the Estate of KIMBERLY WARE
 ==================================
 (Plaintiff Name(s))

                                 SHORT-FORM COMPLAINT

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    $" PLAINTIFF(S)

        %$                   QUEWANDA WARE
                Plaintiff(s) ____________________=====================================
                (“Plaintiff(s)”) brings this action (check the applicable designation):

                               On behalf of [himself/herself];

                                                   1
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                                                                    Proposed Per. Rep.
                                  In representative capacity as the __________________, on behalf
                                  of   the   injured   party,                (Injured       Party’s        Name)
                                  Kimberly Ware
                                  ___________________.

        2.      Injured     Party    is    currently    a    resident    and     citizen    of    (City,   State)
                _________________________ and claims damages as set forth below.

                                                            —OR—
                                                    Apr   9   2019
                Decedent died on (Month, Day, Year) _______________.                             At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                Hallandale Beach    FL
                _________________________.

 If any party claims loss of consortium,

        3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.



    %" DEFENDANT(S)


        '$      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   5" Brand Manufacturers:
                          All entities collectively referred to in the Master Long Form Complaint as Boehringer
                          Ingelheim, GlaxoSmithKline, Phizer, and Sanofi.




                                                        2
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                6" *9>9@<7 ,5>C:57BC@9@A#
                    Apotex Corporation




                7" '<AB@<6CB?@A#
                    Amerisource Bergen Corp., Cardinal Health, Inc., Chattem, Inc., and McKesson Corp.




                8" /9B5<=9@A#
                    Walgreens Co.; Walgreens Boots Alliance, Inc.; Duane Reade, Inc.




                9" Repackagers:
                    Walgreens Boots Alliance, Inc.




                :" Others Not Named in the MPIC:




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    #" JURISDICTION AND VENUE


       (%       Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]:

                Southern
                33333333333333             FL
                               .ELMKE@M IC =======


       )%       Jurisdiction is proper upon diversity of citizenship.


                                      II.     PRODUCT USE


        9.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                                By prescription

                                Over the counter

        10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                                    2012
                (month, year) _______________          2020
                                              to _______________.



                                   III.     PHYSICAL INJURY


        &&%     As a result of the Injured Party’s use of the medications specified above, [he/she]
                was diagnosed with the following specific type of cancer (check all that apply):
    Check all                       Cancer Type                              Approximate Date of
      that                                                                       Diagnosis
     apply
                BLADDER CANCER

                BRAIN CANCER

                BREAST CANCER

                COLORECTAL CANCER




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    Check all                     Cancer Type                               Approximate Date of
      that                                                                      Diagnosis
     apply
                ESOPHAGEAL/THROAT/NASAL CANCER

                INTESTINAL CANCER

                KIDNEY CANCER

                LIVER CANCER

                LUNG CANCER                                           Jan               2020

                OVARIAN CANCER

                PANCREATIC CANCER

                PROSTATE CANCER

                STOMACH CANCER

                TESTICULAR CANCER

                THYROID CANCER

                UTERINE CANCER

                OTHER CANCER:

                DEATH (CAUSED BY CANCER)                              Apr        9      2020




        &'%      -898@74@ED$ 5H E;8<C 46E<A@D AC <@46E<A@D$ BCAG<?4E8>H 64FD87 E;8 <@=FC<8D EA
                 />4<@E<99"D#




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                         I3"     &$20(0 .) $&1+.- $00(/1('

       13.   The following Causes of Action asserted in the Master Personal Injury Complaint
             are asserted against the specified defendants in each class of Defendants
             enumerated therein, and the allegations with regard thereto are adopted in this Short
             Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
                   I      STRICT PRODUCTS LIABILITY – FAILURE TO WARN

                  II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

                  III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                          DEFECT

                  IV      NEGLIGENCE – FAILURE TO WARN

                  V       NEGLIGENT PRODUCT DESIGN

                  VI      NEGLIGENT MANUFACTURING

                 VII      GENERAL NEGLIGENCE

                 VIII     NEGLIGENT MISREPRESENTATION

                  IX      BREACH OF EXPRESS WARRANTIES

                  X       BREACH OF IMPLIED WARRANTIES

                          VIOLATION OF CONSUMER PROTECTION AND
                          DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                  XI
                          statute below:
                          Florida Statutes Chapter 501
                          ______________________==============================_

                 XII      UNJUST ENRICHMENT

                 XIII     LOSS OF CONSORTIUM

                 XIV      SURVIVAL ACTION

                 XV       WRONGFUL DEATH

                 XVI      OTHER:===============================================

                 XVII     OTHER:===============================================

                XVII.     OTHER:===============================================



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             If Count XVI$ Count XVII AC ,AF@E 21... is alleged, additional facts supporting the
             claim(s):
                   s)




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                                                 V.     JURY DEMAND


             14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                           VI.        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

      inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

      action, jointly and severally to the full extent available in law or equity, as requested in the Master

      Personal Injury Complaint.

                      /s/ Eric D. Roslansky
,MMIKHBO & 0<:@4EFC8+==========================                                     /s/ Brent Bigger
                                                               ,MMIKHBO & 0<:@4EFC8+==========================
                 Eric D. Roslansky
,MMIKHBO & /C<@E+========3=====================                                 Brent Bigger
                                                               ,MMIKHBO & /C<@E+========3=====================
+EEAC@8H ' 0<:@4EFC8*33333333333333333333333333                +EEAC@8H ' 0<:@4EFC8*33333333333333333333333333
+EEAC@8H ' /C<@E*333333333333333333333333333333                +EEAC@8H ' /C<@E*333333333333333333333333333333
      The Ruth Law Team
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,AAKBLL &+ ==================================                             Ste. 450
                                                               ,AAKBLL &+ ==================================
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